Case 8:18-cv-02838-SCB-JSS Document 80 Filed 12/03/19 Page 1 of 11 PageID 1717




                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION

     ELIZABETH CARDONA and
     JERARD BROWN,
                         Plaintiffs,
                                                              Civil Action No. 8:18-cv-02838-SCB-JSS
                     v.

     VIVINT SOLAR, INC.,
     VIVINT SOLAR DEVELOPER, LLC, and
     SOLAR MOSAIC, INC.,
                         Defendants.



 PLAINTIFFS’ MOTION FOR RECONSIDERATION OF ORDER ON EXTENSION OF
   BRIEFING DEADLINES, OR IN THE ALTERNATIVE, MOTION FOR RELIEF
                          UNDER RULE 56(d)

        Plaintiffs Elizabeth Cardona and Jerard Brown (“Plaintiffs”), through their undersigned

 counsel, pursuant to M.D. Fla. L.R. 3.01, hereby move for reconsideration of the Court’s Endorsed

 Order dated November 25, 2019 granting an extension through December 6, 2019, yet denying the

 requested extension through December 20, 2019. (ECF 76). In support thereof, Plaintiffs state as

 follows:

        1.       Reconsideration is warranted for at least two reasons. First, the Order conflicts

 with Magistrate Judge Sneed’s discovery Order of November 22, 2019 which required Defendants

 to produce discovery improperly withheld (in violation of the Court’s earlier July 22, 2019 Order)

 by December 13, 2019 (after the instant briefing deadline). Second, additional time is required to

 obtain this compelled discovery in order to address the main arguments made by Defendants at

 summary judgment, Fed. R. Civ. P. 56(d). 1


 1
        Plaintiffs are not currently moving for additional time to respond to the Motion to Exclude the Expert Report


                                                         1
Case 8:18-cv-02838-SCB-JSS Document 80 Filed 12/03/19 Page 2 of 11 PageID 1718




          2.       On November 15, 2019, Defendants filed Motions for Summary Judgment. (See

 ECF 67 and 70). Therein, the Defendants make the following primary arguments:

          a. Plaintiffs gave consent to have their credit pulled. (See e.g. ECF 67: Cardona
             “expressly provid[ed] consent to have her credit run” (p. 4); Brown “hand
             signed the consent form” (p.7));

          b. Defendants had a “reason to believe” they had consent for the credit pulls. (See
             e.g. ECF 70 at p. 12-13; ECF 67 at p. 11); 2

          c. Plaintiffs cannot prove the FCRA violations are willful because they cannot
             show that Defendants “engaged in a systematic practice of obtaining credit
             reports without permission in 2016 and 2017 in Florida.” (ECF 67 at p. 17).

                           The November 22, 2019 Order Compelling Discovery

          3.       On November 22, 2019, Magistrate Judge Sneed issued a discovery Order (ECF

 74) bearing on all the above inquiries fundamental to the summary judgment motions. (The

 discovery Order is attached hereto as Ex. “A”). The discovery Order was necessary because the

 Defendants were withholding key discovery bearing on each of these issues that the Court initially

 compelled by Order dated July 23, 2019, as further set forth in Plaintiff’s Motion to Enforce

 Discovery Order and to Compel (ECF 40, ECF 58 (Reply)). 3 Magistrate Judge Sneed held that

 the Defendants were in incorrect in withholding this discovery and ordered that:

          Defendants should produce all documents in their possession and control relating
          to a complaint made in 2016 or 2017, either formally or informally, that Defendants
          violated the FCRA by obtaining a consumer credit report without authorization by

 of Evan Hendricks (ECF 68, 69), which can be filed December 6, 2019.
 2
           There is no “reason to believe” standard applicable to users of consumer reports, like the instant defendants.
 That is the standard for credit bureaus. Users must have a permissible purpose, not some “reasonable belief” that they
 have a permissible purpose. Interpreting the plain language of the FCRA otherwise, is, in the words of one court
 “nonsensical.” Blumenfeld v. Regions Bank, No. 16-1652, 2018 WL 4216369, at *5 (N.D. Ala. Sept. 5, 2018).
 Nonetheless, Plaintiff is constrained to address facts bearing on Defendants’ argument on this point.
 3
          Plaintiffs’ briefing lays out the record that Defendants were deliberately withholding relevant discovery. For
 instance, discovery revealed at least two other complaints of impermissible credit pulls against Mitchell Coan (who
 forged Jerard Brown’s signature to obtain his credit report without consent), that manager Briant Katilus (who trained
 Florida representatives, including Ricardo Martins (who forged Elizabeth Cardona’s name on a consent form) had
 several complaints of forgery and ethics violations against him), and that none of this was turned over to Plaintiffs.
 (ECF 40, 58).


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Case 8:18-cv-02838-SCB-JSS Document 80 Filed 12/03/19 Page 3 of 11 PageID 1719




        the consumer in Florida. Additionally, the Court agrees with Plaintiffs that
        Defendants should produce all consumer complaints lodged against Mitchell
        Coan, Jacob Thebert, Ricardo Martins, and Briant Katilus, alleging “credit
        discrepancies” or forged signatures, without limitation.

                Second, Plaintiffs argue that Defendants must disclose the identities of the
        relevant complainants. (Dkt. 58 at 3–6.) Although Defendants are correct that they
        are not required “to create documents that do not exist” (Dkt. 52 at 3), the identity
        of these potential witnesses must be disclosed. See Fed. R. Civ. P. 26(a)(1)(A)(i).

 (ECF 74 at p. 3) (emphasis added).

        4.        Magistrate Judge Sneed held that “In accordance with this order, Defendants shall

 supplement their discovery responses and produce all necessary discovery by December 13, 2019.”

        5.        This date falls after Plaintiffs are expected to submit opposition to summary

 judgment on December 6, 2019. (ECF 76).

        6.        Plaintiffs’ response to the summary judgment motions should come after

 Defendants produce this discovery and disclose the names of other consumer victims. The

 magistrate judge has already ruled that this discovery was improperly withheld and should be

 produced. Plaintiffs’ response date should be, at the earliest, December 20, 2019, once Plaintiffs

 have had the opportunity to evaluate the further discovery responses and obtain statements from

 these victims.

        7.        Magistrate Judge Sneed’s Order also contemplates the need for reopening

 discovery on Solar Mosaic’s last second argument that the Plaintiffs “provided the last four digits

 of their social security numbers to the Defendants prior to Mosaic making an inquiry on the

 Plaintiffs’ credit reports.” (ECF 74 at p. 4, denying extension on this ground without prejudice

 due to responses not yet being due). A recently disclosed affidavit from TransUnion demonstrates

 Mosaic did not submit the last four SSN when requesting Plaintiffs’ credit reports. Plaintiffs

 expect an affidavit from Equifax in the next few days. Additionally, a subpoena to the last credit



                                                  3
Case 8:18-cv-02838-SCB-JSS Document 80 Filed 12/03/19 Page 4 of 11 PageID 1720




 bureau, Experian, is in front of the U.S. District Court for the Northern District of Texas. The

 reason this discovery is late in coming is because the Defendants opposed each of Plaintiffs’

 subpoenas, and productions were made only after the District Courts in E.D. Pennsylvania and

 N.D. Georgia ruled on Defendants’ objections to the subpoenas and ordered production. 4

 Plaintiffs are not asking for a wholesale extension of the discovery deadlines. The TransUnion

 documents have been turned over and the Equifax documents will be turned over before the

 December 20, 2019 date. We ask that once the N.D. Texas similarly rules on defendants’

 objections (if that is the case), that those documents can be used to supplement the summary

 judgment record.

          8.       At the time Plaintiffs’ first moved for an extension, they did not have Magistrate

 Judge Sneed’s discovery Order, and were only able to reference the (then) pending discovery

 dispute in a footnote to the Court among the other reasons for a discovery extension demonstrating

 good cause. (ECF 73 at p. 2).

                          Rule 56(d) Contemplates the Need for Extension Here

          9.       Pursuant to Rule 56(d), “if a nonmovant shows by affidavit or declaration that, for

 specified reasons, it cannot present facts essential to justify its opposition, the court may: (1) defer

 considering the motion or deny it; (2) allow time to obtain affidavits or declarations or to take

 discovery; or (3) issue any other appropriate order.”

          10.      The undersigned declares and certifies that the discovery compelled by Magistrate

 Judge Sneed is vitally important to Plaintiffs’ case, and necessary to opposing summary judgment.

 First, Plaintiffs must show there was no consent for the credit pull (see ¶3(a) supra) – pitting them


 4
           These courts did limit production of other complaints evidence to Florida in 2016 and 2017. In all other
 respects, however, the subpoenas were left intact and the credit bureaus only began production after the district courts
 ruled.



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Case 8:18-cv-02838-SCB-JSS Document 80 Filed 12/03/19 Page 5 of 11 PageID 1721




 in a “he said, she said” dispute with Vivint’s salesmen. Other complaints evidence – particularly

 directed at the salesmen and managers in this case, damage the salesmen’s credibility and lend

 credence to the Plaintiffs. Second, other complaints about Vivint salesmen directly bear on

 whether the defendants had a “reason to believe” the credit pull was initiated by the consumer (see

 ¶3(b)); i.e., if there were prior complaints that belief may not be reasonable, a jury question.

 Finally, Plaintiffs must establish negligence or willfulness as an element of their claims. 15 U.S.C.

 §1681n, o. Defendants’ notice of a systemic problem of pulling credit reports without consent,

 and what (if anything) they did about it goes directly to those willfulness and negligence elements.

        11.     Defendants are using their stalling and discovery violations (requiring two motions

 – one to compel and one to enforce, both granted in large part, as set forth above) as a sword at

 summary judgment, and this should not be permitted.

        12.     Defendants’ briefing exemplifies this. Their main arguments – that there was

 consent, or they had a “reason to believe” there was consent, and that there was no willful violation

 – all attack Plaintiffs’ alleged dearth of evidence of a pattern and practice. To wit, Vivint Solar

 argues: “Plaintiffs have not and cannot show, within the parameters already established by the

 Court, that Vivint Solar was engaged in a systematic practice of obtaining credit reports without

 permission in 2016 and 2017 in Florida.” (ECF 67). But, as discussed above, the Defendants

 have not produced that very evidence as Ordered by the Court and have been actively

 obstructing the search for that same evidence.

        13.     Defendants have stalled, withheld probative evidence, and have been ordered

 (again) to produce it. Now they are trying rush to summary judgment with an incomplete record

 knowing further evidence has been ordered to be produced after Plaintiffs’ responsive deadline.

        14.     For the reasons set forth above, this Court should grant the relief of a brief extension



                                                   5
Case 8:18-cv-02838-SCB-JSS Document 80 Filed 12/03/19 Page 6 of 11 PageID 1722




 to accommodate the necessary discovery already compelled.

                                   MEMORANDUM OF LAW

                                          Reconsideration

        There are three major grounds which justify reconsideration of an order: “(1) an intervening

 change in controlling law; (2) the availability of new evidence; and (3) the need to correct clear

 error or manifest injustice.” McGuire v. The Ryland Grp., 497 F.Supp.2d 1356, 1358 (M.D. Fla.

 2007). Each basis applies here.

        First, Magistrate Judge Sneed’s Order was not available at the time the extension was first

 requested, and, as the law of the case relating to Defendants’ discovery obligations, it should be

 given effect. Second, new evidence will surely become available on December 13, 2019, when

 Defendants, as ordered, must disclose the identities, names and addresses of other complainants

 who we already know exist. At the very least, two other Floridians have complained about

 impermissible credit pulls by Mitchell Coan, and there were more complaints than that against the

 manager, Katilus, all of which are relevant, probative and necessary to the case. Finally, it would

 be manifest injustice for Defendants to benefit from their discovery obstruction – withholding

 evidence and forcing Plaintiffs and the Court to twice move on it, and then hold the absence of this

 evidence against Plaintiffs at summary judgment.

        There is good cause for reconsideration and good cause for an extension.

                                             Extension

        Rule 6(b), Federal Rules of Civil Procedure, allows the Court, in its discretion, to increase

 the time for a required act to be accomplished for good cause made before the original time expired.

 Jozwiak v. Stryker Corp., 2012 U.S. Dist. LEXIS 17221 (M.D. Fla. 2010). Under the Federal

 Rules of Civil Procedure 6(b), the Court “for cause shown is given wide discretion to enlarge the



                                                  6
Case 8:18-cv-02838-SCB-JSS Document 80 Filed 12/03/19 Page 7 of 11 PageID 1723




 time for doing an act required or allowed under the rules to be done within a specified time.”

 Woods v. Alleid Concord Financial Corp., 373 F.2d 733 (5th Cir. 1967). The Court has the inherent

 discretion to control its docket and to allow for the orderly proceeding of matters before it. See

 Chrysler Int’l. Corp. v. Chemaly, 280 F.3d 1358, 1360 (11th Cir. 2002) (“[W]e stress the broad

 discretion district courts have in managing their cases.”).

        Modification is proper under the good cause standard of Rule 6(b) when it can be shown

 that the schedule cannot be met despite the diligence of the party seeking the extension of time. In

 re Estate of Washington, 2011 U.S. Dist. LEXIS 75413 (M.D. Fla. 2011). Cases where good cause

 has not been found to exist and diligence has been found to be lacking are distinguishable from

 the circumstances attendant to the instant case, where, despite diligent efforts, the need for motion

 practice, and the need for further discovery make the previously established deadlines difficult to

 meet. See S. Grouts & Mortars, Inc. v. 3M Co., 575 F.3d 1235, 1242 (11th Cir. 2009) (motion to

 extend time denied when filed five months after deadline had passed); Smith v. Sch. Bd. of Orange

 County, 487 F.3d 1361, 1367 (11th Cir. 2008) (motion to extend denied when filed one year after

 deadline); Romero v. Drummond Co., 552 F.3d 1303, 1318 (11th Cir. 2008) (motion to extend

 time denied when filed on “the eve of trial”).

        Furthermore, an extension of time is warranted under Rule 16(b)(4), Federal Rule of Civil

 Procedure. The instant Motion is being filed prior to the passing of the December 6, 2019 deadline

 with sufficient good cause. Espinal v. Prof’l Recovery Servs., 2010 U.S. Dist. LEXIS 120621

 (M.D. Fla. 2010). When the moving party for an extension of time establishes that scheduling

 deadlines could not be met despite diligent efforts, good cause is shown to exist. Id. As set forth

 above, that is the case here.




                                                  7
Case 8:18-cv-02838-SCB-JSS Document 80 Filed 12/03/19 Page 8 of 11 PageID 1724




        For the above reasons, the Plaintiffs request an extension of time to oppose the Defendants’

 motions for summary judgment. This Motion is being made in good faith and not for the purposes

 of delay. Accordingly, good cause exists to reconsider and grant the Motion for extension until

 December 20, 2019.

                               CERTIFICATION OF COUNSEL

        Pursuant to Local Rule 3.01(g) counsel for Plaintiffs hereby certifies that he has conferred

 with counsel for each of the Defendants in good faith in an attempt to resolve the motion for

 extension. I emailed and had a phone conversation with counsel for Solar Mosaic, Kalama Lui-

 Kwan, who represented he had conferred with the Vivint co-defendants, who all took the position

 that they could only agree to a brief extension until December 6. I spoke with Mr. Lui-Kwan again

 today, December 3, 2019, at which point he stated that Defendants would oppose this motion for

 reconsideration. As set forth above, Plaintiffs require additional time, and there is good cause for

 the extension through December 20, 2019.

        Furthermore, I declare and certify pursuant to Fed. R. Civ. P. 56(d) that the discovery

 compelled by Magistrate Judge Sneed is vitally important to Plaintiffs’ case, and necessary to

 opposing summary judgment. As explained above, Plaintiffs must show there was no consent (see

 ¶3(a) supra). Other complaints evidence – particularly directed at the salesmen and managers in

 this case, damage the Vivint salesmen’s credibility and lend credence to the Plaintiffs. Next, other

 complaints about Vivint salesmen directly bear on whether the defendants had a “reason to

 believe” the credit pull was initiated by the consumer (see ¶3(b)); i.e., if there were prior

 complaints that belief may not be reasonable, a jury question. Finally, Plaintiffs must establish

 negligence or willfulness as an element of their claims. 15 U.S.C. §1681n, o. Defendants’ notice

 of a systemic problem of pulling credit reports without consent, and what (if anything) they did



                                                  8
Case 8:18-cv-02838-SCB-JSS Document 80 Filed 12/03/19 Page 9 of 11 PageID 1725




 about it goes directly to those willfulness and negligence elements.



 Dated: December 3, 2019                              /s/ Andrew M. Milz
                                                      ANDREW M. MILZ
                                                      Admitted pro hac vice




        WHEREFORE, Plaintiffs respectfully request that this Court reconsider its earlier

 Endorsed Order (ECF 76) and enter an Order granting Plaintiffs an Extension of Time to Respond

 to the Motions for Summary Judgment through and including December 20, 2019.

                                                      Respectfully submitted,

 Dated: December 3, 2019                              /s/ Andrew M. Milz
                                                      ANDREW M. MILZ
                                                      Admitted pro hac vice

                                                      FLITTER MILZ, P.C.
                                                      450 N. Narberth Avenue, Suite 101
                                                      Narberth, PA 19072
                                                      (610) 822-0782 (ph)
                                                      (610) 667-0552 (fax)
                                                      amilz@consumerslaw.com
                                                      olorenzano@consumerslaw.com


                                                      CRAIG E. ROTHBURD
                                                      FBN: 0049182
                                                      320 W. Kennedy Blvd., #700
                                                      Tampa, Florida 33606
                                                      (813) 251-8800 (ph)
                                                      (813) 251-5042 (fax)
                                                      crothburd@e-rlaw.com
                                                      mropp@e-rlaw.com

                                                      ATTORNEYS FOR PLAINTIFFS




                                                 9
Case 8:18-cv-02838-SCB-JSS Document 80 Filed 12/03/19 Page 10 of 11 PageID 1726




                                 CERTIFICATE OF SERVICE



           I HEREBY CERTIFY that on this 3 day of December, 2019, I electronically filed the

 foregoing document with the Clerk of the Court using the CM/ECF system upon all parties of

 record.


 Dated: December 3, 2019                                  /s/ Andrew M. Milz
                                                          ANDREW M. MILZ




                                               10
Case 8:18-cv-02838-SCB-JSS Document 80 Filed 12/03/19 Page 11 of 11 PageID 1727




                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION


    ELIZABETH CARDONA and
    JERARD BROWN,

                                   Plaintiffs,        Civil Action No. 8:18-cv-02838-SCB-JSS

                    v.

    VIVINT SOLAR, INC.,
    VIVINT SOLAR DEVELOPER, LLC, and
    SOLAR MOSAIC, INC.,

                                   Defendants.

                                                 ORDER

        THIS CAUSE having come before the Court on Plaintiffs’ Motion for Reconsideration

 of the Court’s Endorsed Order Granting in Part and Denying in Part an Extension of Time to

 Respond to Defendants’ Motions for Summary Judgment, and any opposition thereto, and

 otherwise being duly advised in the premises, it is hereby:

                 ORDERED AND ADJUDGED:

            1.      The Motion for Reconsideration is is Granted.

            2.      Plaintiffs shall file their responses to Defendants’ Motions for Summary
                    Judgment by December 20, 2019.


            DONE AND ORDERED in Chambers in Tampa, Florida this               day of
                  , 2019.


                                                                    , J.
